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 7                          UNITED STATES DISTRICT COURT
 8                                   DISTRICT OF NEVADA
 9

10   UNITED STATES OF AMERICA,

11          Plaintiff,                              Case No. 2:13-cr-00147-LDG (GWF)

12   v.                                             ORDER

13   JACLYN MIKIE SUMARNKANT, QUY
     NGUYEN, et al.,
14
            Defendants.
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16
            Defendants Quy Nguyen and Jaclyn Sumarnkant were represented by the same
17
     attorney: Erick Ferran, Esq. The government moved to disqualify (#131) Mr. Ferran from
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     jointly representing both defendants on the basis of a potential conflict of interest arising
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     out of the joint representation. The Court held a hearing on the motion, during which Mr.
20
     Ferran acknowledged that it would be appropriate to grant the motion and require that one
21
     of his clients obtain separate counsel.
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            A review of the docket indicates that Gabriel Grasso and Brian J. Smith moved to be
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     substituted as counsel for Sumarnkant (#137), and that the motion has been granted
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     (#139). Accordingly, as the government’s motion remains pending,
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 1         THE COURT ORDERS that the Motion to Disqualify (#131) is GRANTED nunc pro

 2   tunc to March 4, 2015.

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 4   DATED this ______ day of March, 2015.
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 6                                                     Lloyd D. George
                                                       United States District Judge
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